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                                                  Schedule B

 Case No.                                                    Case Name
20-cv-01338   Luxottica Group S.p.A. and Oakley, Inc. v. RBAAD.NET, et al.
20-cv-01348   Luxottica Group S.p.A. and Oakley, Inc. v. AAAASUNGLASSES.COM, et al.
20-cv-02297   Luxottica Group S.p.A. and Oakly, Inc. v. RBZXR.COM,et al.
20-cv-03382   Luxottica Group S.p.A. and Oakly, Inc. v. RAYBAC.CLUB, et al.
20-cv-04162   Luxottica Group S.p.A. and Oakley, Inc. v. RAYAEK.COM, et al.
20-cv-05359   Luxottica Group S.p.A. and Oakley, Inc. v. RBAGH.COM, et al.
20-cv-06724   Luxottica Group S.p.A. and Oakley, Inc. v. SELLBESTREPLICA.COM, et. al.
21-cv-00317   Luxottica Group S.p.A. and Oakley, Inc. v. RBAAJ.NET, et al.
              Luxottica Group S.p.A., Oakley, Inc., Eye Safety Systems, Inc., and Costa Del
21-cv-01833
              Mar, Inc. v. RAYBBY.COM, et al.
              Luxottica Group S.p.A., Oakley, Inc., Eye Safety Systems, Inc., and Costa Del
21-cv-02795
              Mar, Inc. v. RBGLASS4US.COM, et al.
              Luxottica Group S.p.A., Oakley, Inc., Eye Safety Systems, Inc., and Costa Del
21-cv-03966
              Mar, Inc. v. The Partnerships and Unidentified Associations Identified on Schedule "A"
              Luxottica Group S.p.A., Oakley, Inc., and Costa Del
21-cv-03977
              Mar, Inc. v. The Partnerships and Unidentified Associations Identified on Schedule "A"
20-cv-02934   Costa Del Mar, Inc. v. SHOP5369069, et al.
20-cv-03220   Costa Del Mar, Inc. v. SHOP4925102 STORE, et al.
20-cv-04268   Costa Del Mar, Inc. v. ANDREWUU, et al.
20-cv-05446   Costa Del Mar, Inc. v. SHOP5259103 STORE, et al.
21-cv-00389   Costa Del Mar, Inc. v. AHGKMM.SHOP, et al.
20-cv-03699   Oakley, Inc. v. 8081BIKE STORE, et al.
21-cv-02114   Oakley, Inc. v. ROIDISMTOR CYCLING STORE, et. al.
20-cv-02955   Oakley, Inc. v. FORFAR OUTDOORS STORE, et al.
20-cv-04402   Oakley, Inc. v. BIKE LEADER, et al.
21-cv-00818   Oakley, Inc. v. INFINITE OUTDOOR STORE, et al.
20-cv-00277   Oakley, Inc. v. ADVENTURER, et al.
20-cv-02962   Oakley, Inc. v. ZHANGJISTORE,et al.
20-cv-03547   Oakley, Inc. v. ADVENTURER, et al.
20-cv-04421   Oakley, Inc. v. KATRINA'S OPTICAL ITEMS STORE, et al.
20-cv-06676   Oakley, Inc. v. CYCLING FRANCHISE STORE, et al.
21-cv-00875   Oakley, Inc. v. UGOOCAR ACCESSORY STORE, et al.
21-cv-02742   Oakley, Inc. v. The Partnerships and Unincorporated Associations Identified on Schedule "A"
21-cv-03836   Oakley, Inc. v. The Partnerships and Unincorporated Associations Identified on Schedule "A"
20-cv-02970   Oakley, Inc. v. OTC. STORE, et al.
20-cv-05943   Oakley, Inc. v. ORGE888, et al.
20-cv-05972   Oakley, Inc. v. TERAYSUN STORE, et al.
20-cv-00329   Oakley, Inc. v. JULY BREEZE, et al.
20-cv-02556   Oakley, Inc. v. SHIKE2222,et al.
20-cv-03036   Oakley, Inc. v. SOOF JFHHF WOMAN WEARING, et al.
20-cv-03486   Oakley, Inc. v. CHINA HIGH QUALITY PRODUCTS STORE, et al.
20-cv-03542   Oakley, Inc. v. ALL-INBIKE, et al.
20-cv-04171   Oakley, Inc. v. ZONEBIKECYCLE STORE, et al.
20-cv-05314   Oakley, Inc. v. YOUR,MODIS STORE, et al.
20-cv-06495   Oakley, Inc. v. FIVE GOGOGO STORE, et al.
21-cv-02369   Oakley, Inc. v. BARRY INVINCIBLE STORE, et al.
21-cv-02452   Oakley, Inc. v. DESOLDELOS STORE, et al.
20-cv-03264   Oakley, Inc. v. SHOP1230199 STORE, et al.
20-cv-05049   Oakley, Inc. v. SHOP3478042 STORE, et al.
21-cv-00458   Oakley, Inc. v. TIENDASPEREDUCHE, et al.
21-cv-00536   Oakley, Inc. v. SHOP5743220 STORE, et. al.
21-cv-02926   Oakley, Inc. v. HEG-H STORE, et al.
21-cv-02989   Oakley, Inc. v. SIMPRECT OFFICIAL STORE, et al.
21-cv-03925   Oakley, Inc. v. Firewind Outdoor Store, et al.
21-cv-03997   Oakley, Inc. v. The Partnerships and Unincorporated Associations Identified on Schedule "A"
